    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 1 of 6 PageID #:257




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

STEPHANIE L. WOODALL WILSON,                    )
                                                )
               Plaintiff,                       )
                                                )
               v.                               )       No. 23 C 00091
                                                )
MOSS HOLDING and JASON POPP                     )       Judge John J. Tharp, Jr.
                                                )
               Defendants.
                                                )

                                            ORDER

For the reasons set forth in the accompanying statement, the defendants’ motion to dismiss [36] is
granted. The Court will afford the plaintiff an opportunity to replead by April 14, 2025. Absent
filing of a timely amended complaint, this case will be dismissed and judgment will be entered for
the defendants.

                                         STATEMENT

        Plaintiff Stephanie L. Woodall Wilson brought this Title VII action against her former
employer Moss Holding and former supervisor Jason Popp, alleging sex discrimination and
unlawful retaliation. She claims that another employee sexually harassed her by mockingly
removing a scarf she had wrapped around her waist over her jeans and that she was terminated
shortly after reporting the incident to Popp and to the police.
        After filing, Wilson and the defendants proceeded to mediation conducted through the
Illinois Department of Human Rights (IDHR). During the mediation session, Wilson verbally
agreed to dismiss her lawsuit in exchange for a monetary payment. But several days later, she
refused to sign a written settlement, claiming that she felt pressured to submit to its terms.
       The defendants moved to enforce their oral agreement with Wilson, contending that she
remains contractually bound to dismiss her lawsuit under Illinois law. In the alternative, the
defendants seek dismissal under Rule 12(b)(6) on the grounds that Wilson had not alleged a
plausible Title VII claim.
        The Court declines to enforce the purported settlement agreement, finding that the
defendants have not carried their burden to demonstrate that Wilson submitted knowingly and
voluntarily to its terms. The Court also concludes that Moss was not sexually harassed. The Court
finds, however, that Wilson has plausibly alleged that she was dismissed because she engaged in
protected activity under Title VII—namely, reporting her allegations of sexual harassment to her
supervisor and to the police.
    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 2 of 6 PageID #:258




   1. Enforcement of the Parties’ Verbal Agreement to Settle
       “Issues regarding the formation, construction, and enforceability of a settlement agreement
are governed by local contract law.” Pohl v. United Airlines, Inc., 213 F.3d 336, 338 (7th Cir.
2000).1 In the Title VII context, federal law further requires that any settlement must be “knowing
and voluntary”—“a prerequisite that must be satisfied after the existence of a binding agreement
has been established under state contract principles.” Singleton v. Amita Health (Singleton II), No.
17-cv-4514, 2018 WL 6445161, at *2 (N.D. Ill. Dec. 10, 2018), aff'd, 799 F. App’x 942 (7th Cir.
2020) (citing Dillard v. Starcon Int’l, Inc., 483 F.3d 502, 507 (7th Cir. 2007)).
         The Court finds no need to evaluate whether the parties’ oral agreement during mediation
constitutes a valid and enforceable contract per Illinois law. Assuming that it does, the defendants
still bear the burden, as the parties seeking to enforce settlement of federal discrimination claims,
of demonstrating that Wilson entered the agreement knowingly and voluntarily. Pierce v. Atchison
Topeka & Santa Fe Ry. Co., 110 F.3d 431, 438 (7th Cir. 1997). They have failed to meet that
burden.
        “Whether a settlement of an employment discrimination claim was entered into ‘knowingly
and voluntarily’ is determined by the ‘totality of the circumstances.’” Dillard, 483 F.3d at 507
(quoting Alexander v. Gardner–Denver Co., 415 U.S. 36 (1974)). Relevant factors include: “(1)
the employee's education and business experience; (2) the employee's input in negotiating the
terms of the settlement; (3) the clarity of the agreement; (4) the amount of time the employee had
for deliberation before signing the agreement; (5) whether the employee actually read the release
before signing it; (6) whether the employee was represented by counsel or consulted with an
attorney; (7) whether the consideration given in exchange for the waiver exceeded the benefits to
which the employee was already entitled by contract or law; and (8) whether the employee's release
was induced by improper conduct on the defendant's part.” Baptist v. City of Kankakee, 481 F.3d
485, 491 n.3 (7th Cir. 2007) (citing Pierce v. Atchison, Topeka & Santa Fe Ry. Co., 65 F.3d 562,
571 (7th Cir. 1995)).



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          As a general matter, “[o]ral settlement agreements are enforceable under Illinois law if
there is clearly an offer and acceptance of the compromise and a meeting of the minds as to the
terms of the agreement.” Dillard v. Starcon Int’l, Inc., 483 F.3d 502, 507 (7th Cir. 2007) (quotation
marks omitted). A “meeting of the minds” exists when the parties’ conduct “objectively indicates
an agreement to the terms of the [contract], even if one or more parties did not subjectively intend
to be bound.” Romano v. First Midwest Bancorp, Inc., No. 20-cv-07268, 2024 WL 1363669, at *6
(N.D. Ill. Mar. 30, 2024) (quoting Cnty. Line Nurseries & Landscaping, Inc., ex rel. Bankr. Tr. v.
Glencoe Park Dist., 46 N.E.3d 925, 932 (Ill. App. Ct. 2015)). Moreover, the “simple fact” that one
party later seeks to memorialize an oral agreement with a written instrument does not eliminate
the contractual force of the oral agreement, so long as “the ultimate contract will be substantially
based upon the same terms.” See also TRT Transp., Inc. v. Aksoy, 506 F. App’x 511, 513 (7th Cir.
2013) (quotation marks omitted).


                                                 2
    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 3 of 6 PageID #:259




       The defendants correctly note that two factors cut in their favor: the plaintiff was offered
consideration to which she had no legal entitlement, and her release was not induced by improper
conduct. That said, other factors pull against a finding of knowing and voluntarily consent. Wilson
was not represented by counsel, did not “read the release before signing it” since the agreement
was oral, possessed education (“some college”) and business experience dwarfed by that of
defense counsel, and had little time to deliberate since the initial proposal and oral agreement
occurred on the same afternoon.
        The defendants also provide no basis to conclude that Wilson had “input in negotiating the
terms of the settlement.” Id. In their motion, the defendants assert that IDHR’s mediation process
gave Wilson an “opportunity to communicate with the IDHR mediator and opportunity for input.”
ECF No. 37 at 6. Having an “opportunity for input,” however, is less a faithful paraphrase of the
second Pierce factor and more an irreducible minimum of any voluntary agreement. The proper
consideration is whether the opportunity to provide input was acted upon. The defendants do not
assert that Wilson exerted any influence over the agreement’s terms. And the fact that the
defendants drafted every word of the follow-up written settlement does little to help their cause.
        The Court considers Wilson’s post-mediation conduct to be telling as well. On June 8,
approximately two weeks after the oral agreement, Wilson filed a statement on the docket. See
ECF No. 17. The statement emphasized that the written settlement agreement had been “typed by
the defendants’ attorney with the defendants’ words.” Id. at 1-2. Furthermore, Wilson stated that
she intended to sign the agreement but only “under distress and pressure of mental abuse.” Id.
While the Court does not construe this as decisive proof of duress, Wilson’s filing is another
relevant consideration supporting the conclusion that the defendants have not met their burden of
affirmatively demonstrating knowing and voluntary consent. Contrast Dillard, 483 F.3d at 507
(enforcing an agreement where a party made “only a superficial claim of involuntariness” and did
not allege duress or coercion).
        In the absence of additional documentation or evidence, the Court finds that the balance of
pertinent considerations cuts against the conclusion that Wilson knowingly and voluntarily agreed
to release her Title VII claim during IDHR mediation. So, the Court declines to dismiss the
complaint on that basis.
   2. Sufficiency of the Complaint
         The defendants cite Rule 12(b)(6) as an alternative basis for dismissal. To prevail against
a 12(b)(6) challenge, a plaintiff must present “a short and plain statement of the claim showing
that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The statement must “give the defendant
fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly,
550 U.S. 544, 555 (2007) (citation omitted) (quotation marks omitted). “Factual allegations must
be enough to raise a right to relief above the speculative level,” id., meaning that “a complaint
must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “In
reviewing the sufficiency of a complaint under the plausibility standard, [courts] accept the well-


                                                   3
    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 4 of 6 PageID #:260




pleaded facts in the complaint as true.” Alam v. Miller Brewing Co., 709 F.3d 662, 665-66 (7th
Cir. 2013). Pro se complaints are to be construed even more liberally. See Erickson v. Pardus, 551
U.S. 89, 94 (2007).2
       The defendants submit that the single isolated incident that Wilson emphasizes in her
complaint—a co-worker laughingly removing a scarf that had been wrapped around Wilson’s
clothed waist in full view of other colleagues—is insufficient to support a claim of sex
discrimination under Title VII. The Court agrees.
        Sexual harassment does not violate Title VII unless it is “subjectively and objectively so
severe or pervasive as to alter the conditions of [] employment and create an abusive working
environment.” Whittaker v. N Illinois Univ., 424 F.3d 640, 645 (7th Cir. 2005) (quoting Wyninger
v. New Venture Gear, Inc., 361 F.3d 965, 975 (7th Cir.2004)). At the screening stage, this Court
ruled that Wilson’s allegations did not meet that definition, and Wilson has provided no basis to
reconsider that determination.3
       The defendants also contend that Title VII does not permit individual liability. Once again,
the Court agrees. See Nischan v. Stratosphere Quality, LLC, 865 F.3d 922 (7th Cir. 2017); Lugo
v. IBEW Local #134, 175 F. Supp. 3d 1026 (N.D. Ill. 2016). Because Title VII extends to
employers and not individual officers, and because the complaint does not allege the factual
predicates of an alternative theory of liability as to Popp, the Court dismisses Popp as a defendant.
       That leaves Wilson’s retaliation claim. To support a direct theory of retaliation under
Title VII, a plaintiff must allege that “(1) she engaged in a statutorily protected activity, (2) her
employer took a materially adverse action against her, and (3) there was a causal connection
between the two.” Malin v. Hospira, Inc., 762 F.3d 552, 558 (7th Cir. 2014).
        Moss contends that Wilson has failed to allege an adequate factual basis to support the third
prong of her retaliation claim: a causal link between protected activity and her employer’s decision
to terminate her employment. To satisfy the causation element, plaintiff must plausibly allege that
“a retaliatory motive was a but-for cause of the challenged employment action”—or, in other
words, “that the unlawful retaliation would not have occurred in the absence of the alleged


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         In keeping with the liberal construction afforded to pro se complaints, the Court considers
the factual allegations contained in both the body of Wilson’s complaint and in the attached
discrimination charge Wilson filed before the Illinois Department of Human Rights and Equal
Employment Opportunity Commission. See Order & Statement, ECF No. 7 at 2.
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           While the Court agrees with the defendants’ bottom line on this point, it decidedly rejects
one aspect of their reasoning. The defendants assert categorically that “it is well-settled that a
singular isolated event is insufficient to support a sexual harassment claim.” ECF No. 37 at 7. That
misstates the law. A cursory overview of this circuit’s case law underscores that the opposite is
true: Our Court of Appeals has “repeatedly recognized that even one act of harassment will suffice
if it is egregious.” Hostetler v. Quality Dining, Inc., 218 F.3d 798, 808 (7th Cir. 2000) (collecting
cases).


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    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 5 of 6 PageID #:261




wrongful action or actions of the employer.” Lesiv v. Illinois Cent. R.R. Co., 39 F.4th 903, 915
(7th Cir. 2022). Wilson alleges that she reported that she had been sexually harassed to police the
next morning, May 17, and to Popp, her supervisor, when she reported to work later that day. Such
a complaint is a protected activity, whether or not the claims underlying the complaint are
actionable. See Rizzo v. Sheahan, 266 F.3d 705, 715 (7th Cir. 2001) (holding that reporting sexual
harassment to a supervisor is protected activity); Fine v. Ryan Int’l Airlines, 305 F.3d 746, 752
(7th Cir. 2002) (holding that plaintiff need not prevail on a Title VII discrimination claim to win a
retaliation claim, as long as the complaint was brought in good faith). In addition, Wilson alleges
that Moss fired her the next day, a temporal proximity that supports an inference of causation.
Vega v. Chicago Park Dist., 958 F. Supp. 2d 943, 957 (N.D. Ill. 2013) (termination within a week
of complaint sufficient to support inference of retaliation at motion-to-dismiss stage). Wilson also
alleges facts to support an inference that the reason Moss gave for her termination was pretextual;
she alleges that she never received the productivity standards that Moss said she had failed to
achieve and had never been advised that her performance was not meeting expectations. (To the
contrary, Wilson alleges that on several occasions there was not enough work to keep the night
shift, to which she was assigned, busy). See Jordan v. Evans, No. 15 C 5907, 2019 WL 4278179,
at *9 (N.D. Ill. Sept. 9, 2019) (departure from the employer’s typical policies and procedures can
constitute evidence of pretext).
         Nevertheless, Wilson alleges additional facts that call into question the viability of her
retaliation claim. Specifically, Wilson asserts that she was also terminated for insisting that her
supervisor’s “bullying” was an “intentional act to provoke and disrupt the deadline of [her] work
duties.” ECF No. 1 at 9. Wilson further maintains that she was terminated in retaliation for filing
a police complaint against the company concerning alleged financial fraud, hacking, and deceptive
practices concerning her bank account information. Id. While those allegations concern
wrongdoing, Moss argues, they have nothing to do with the anti-discrimination activity shielded
by Title VII and therefore preclude a finding that reporting sexual harassment was a but-for cause
of her termination.
        To satisfy the requirement of “but for” causation, a plaintiff must demonstrate that the
protected activity was “the but-for cause of the challenged employment action,” not merely a
motivating factor or one of many but-for causes. Mollet v. City of Greenfield, 926 F.3d 894, 897
(7th Cir. 2019) (quoting University of Texas Southwestern Med. Ctr. v. Nassar, 570 U.S. 338, 352
(2013)). This requires a showing (plausible allegations, on a motion to dismiss) that the adverse
action would not have happened without the protected activity. Lesiv v. Illinois Cent. R.R. Co., 39
F.4th 903, 918 (7th Cir. 2022). “[P]roof of mixed motives will not suffice.” Hillmann v. City of
Chicago, 834 F.3d 787, 795 (7th Cir. 2016) (quoting Serwatka v. Rockwell Automation, Inc., 591
F.3d 957, 962 (7th Cir. 2010)).
         Having pled that she was terminated for multiple reasons, Wilson fails the “but for” test.
As Justice Ginsburg observed in opposing adoption of the “but for” causation standard for Title VII
retaliation claims, “[w]hen more than one factor contributes to a plaintiff's injury, but-for causation



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    Case: 1:23-cv-00091 Document #: 49 Filed: 03/24/25 Page 6 of 6 PageID #:262




is problematic.” Nassar, 570 U.S. at 383 (citing 1 Restatement (Third) of Torts § 27,
Comment a, p. 385 (2005) (noting near-universal agreement that the but-for standard is
inappropriate when multiple sufficient causes exist)). If, as she has alleged, Wilson was also
terminated for complaining about bullying by her supervisor and for filing a criminal complaint
accusing HR staff of defrauding her, her retaliation claim falls short of establishing that she would
not have been terminated but for reporting her claim of sexual harassment.
        In sum, the Court finds that the complaint does not state a claim of sex discrimination under
Title VII because the single incident alleged by Wilson is insufficiently egregious to create a
hostile work environment. Moreover, the Court dismisses defendant Popp in light of the fact that
Title VII does not impose individual liability. And, in any case, the Court concludes that Wilson
has not plausibly alleged retaliation since, by her complaint’s own terms, any protected activity
she might have engaged in was not the but-for cause of her termination.




 Dated: March 24, 2025                                      John J. Tharp, Jr.
                                                            United States District Judge




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